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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     BRITTNEY MONIQUE BEACHAM
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 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR.S-09-533 FCD
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND ORDER TO CONTINUE
13         v.                              )              STATUS HEARING AND TO EXCLUDE TIME
                                           )              PURSUANT TO THE SPEEDY TRIAL ACT
14                                         )
     BRITTNEY MONIQUE BEACHAM,             )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on March 1, 2010. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for March 1, 2010, be continued until March 22, 2010. In addition, the parties
22   stipulate that the time period from March 1, 2010, to March 22, 2010, be excluded under the Speedy Trial
23   Act (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to provide defense counsel with
24   the reasonable time to prepare.
25   ///
26   ///
27   ///
28
               Case 2:09-cr-00533-DAD Document 24 Filed 02/26/10 Page 2 of 2


 1   DATED:February 25, 2010
 2                        Respectfully submitted,
 3
 4   BENJAMIN B. WAGNER                                DANIEL BRODERICK
     United States Attorney                            Federal Defender
 5
 6
     /s/ Lexi Negin for                                /s/ Lexi Negin
 7   KYLE REARDON                                      LEXI NEGIN
     Assistant U.S. Attorney                           Assistant Federal Defender
 8   Attorney for United States                        Attorney for Brittney Monique Beacham
 9
            IT IS SO ORDERED.
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11
     DATED: February 25, 2010
12                                                  _______________________________________
                                                    FRANK C. DAMRELL, JR.
13                                                  UNITED STATES DISTRICT JUDGE

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